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9/19/00:ORD/be:PLD/1754009 Judgment

IN THE UNITED STATES DISTRICT COURT F I L E D
FOR THE WESTERN DISTRICT OF TEXAS
SAN ANTONIO DIVISION NOY 1 6 2000
ROYCE L. LEE AND CONNIE A. LEE, § WILLIAM, G. PUTNICKI,
Individually And as Next Friends § By vo Ly
of CATHERINE A. LEE, A Minor, §
§
Plaintiffs, § CIVIL ACTION NO:
§
VS. § SA-99-CA-0531-HG
§
RICHARD EASTLAND and §
TWEETY EASTLAND, §
§
Defendants. §
FINAL JUDGMENT

On September 11, 2000, this Court conducted a hearing in Civil Action No. SA-99-CA-0531-
HG. At the hearing the adult Plaintiffs and the Minor Plaintiff appeared by and through their counsel
of record, the duly appointed Guardian Ad Litem and Counsel for the Defendants were also present.
At the hearing, the parties announced to the Court that all matters in controversy had been resolved
by confidential agreement. The Guardian Ad Litem informed the Court by written report submitted
separately of the details of the settlement and of his recommendation that the proposed compromise
and settlement reached on behalf of the Minor Plaintiff was fair, just and in the best interest of the
Minor Plaintiff, Catherine A. Lee. Upon consideration of the report of the Guardian Ad Litem for
the Minor Plaintiff, the Court makes the following findings and issues the following Orders:

THE COURT HEREBY FINDS that the Guardian Ad Litem appointed on behalf of Plaintiff
CATHERINE A. LEE, a Minor has approved the Compromise and Settlement reached on behalf of
the child as being fair, just and in her best interest and that the Ad Litem has requested that the Court

approve and ratify this settlement. The Court also finds that the child’s parents, Plaintiffs ROYCE

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L. LEE and CONNIE A. LEE have also approved the Compromise and Settlement reached on behalf
of the child as being fair, just and in her best interest and that the parents have also requested that the
Court approve and ratify this settlement. Therefore, this Court hereby finds that the settlement
reached on behalf of Plaintiff, CATHERINE A. LEE, a Minor is fair, just and in the best interest of
the Minor Plaintiff; the Court also finds that Royce L. and Connie A. Lee as Parents and Next Friends
of CATHERINE A. LEE are hereby authorized to execute any and all releases and other necessary
legal documents on behalf of the Minor Plaintiff, CATHERINE A. LEE.

THE COURT FURTHER FINDS that by agreement the individual claims of the adult
Plaintiffs, Royce L. Lee, Individually and Connie A. Lee, Individually, will be disposed of herein by
entering a Take Nothing Judgment as to their claims only.

IT IS, THEREFORE, ORDERED, ADJUDGED AND DECREED by the Court that the
Minor Plaintiff CATHERINE A. LEE suing herein by and through her next friends, Royce L. and
Connie A. Lee does have and recover of and from the Defendants the total sum of One Hundred Fifty
Thousand and no/100 Dollars ($150,000.00); and it appearing to the Court that the Defendants have
paid the total sum as follows: One Hundred Fifty Thousand and no/100 Dollars ($150,000.00) into
the Registry of the Court for the sole use and benefit of CATHERINE A. LEE, and with the
remainder to be paid jointly to Royce A. and Connie L. Lee and their attorneys, Shannon, Gracey,
Ratliff & Miller for medical and/or psychological expenses incurred on behalf of the child and
reasonable attorney’s fees and litigation related expenses incurred as a result of the incident and/or
the litigation described in the Plaintiffs’ complaint, as amended. Said sums awarded to the Minor
Plaintiff and deposited with the Registry of the Court shall be net to the Minor and not subject to any

claim for medical, psychological, legal, or other expenses or fees.

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INVESTMENT ORDER:

Final Judgment having been entered in this case and the parties in open court by and through
their attorneys of record having requested the Court to enter an order directing that the funds be
deposited into the registry of the Court for the minor child to be invested for her benefit, and it further
appearing that it would be in the best interest of said minor child that said monies deposited into the
registry of the Court for her benefit be invested during her minority;

It is, accordingly, ADJUDGED AND DECREED that the Clerk of this Court hereby deposit
into the Registry of the Court the amount of $150,000.00 for:

CATHERINE A. LEE

1209 Montpier Drive

Franklin, Tennessee

Date of Birth: April 13, 1984

Social Security No.: XXX-XX-XXXX
with Frost National Bank, San Antonio, Bexar County, Texas, to be deposited in an interest-bearing
account providing for the highest rate of interest available and to be automatically reinvested at
maturity, along with accrued interest, in a like manner until said minor child shall reach the age of
eighteen years or until further order of the Court, and that said sum, together with interest accruing
thereon shall remain in said Frost National Bank until such minor child reaches the age of eighteen
years, or until her disabilities of minority are removed, at which time said account shall be delivered
to said minor child, all the foregoing subject, however, to further orders of this Court.

It is further ORDERED that the Clerk of the Court shall deduct a registry fee authorized by
the Judicial Conference Schedule of Fees implemented by the Administrative Office of the United
States Courts effective February 3, 1992, for the handling and servicing of interest-bearing accounts

deposited to financial institutions pursuant to 28 U.S.C. 2041 and Rule 67 of the Federal Rules of

Civil Procedure. The amount of the fee shall be equal to ten percent (10%) of all income earned

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during the first five years, seven and one-half percent (7.5%) of all income earned during years six
through ten, and five percent (5%) of all income earned during years eleven through fifteen, and two
one-half percent (2.5%) of all income earned after 15 years while funds are held in the Court’s
registry. The financial institution, without further order of the Court, will issue a check payable to
Clerk, U.S. District Court, for the percentage of income earned as set forth above at the end of each
five-year period of when the account is closed, whichever occurs sooner, as requested by the Clerk
of the Court. All remaining sums shall continue to be invested as previously outlined until further
order of this Court.

IT IS FURTHER ORDERED that the adult Plaintiffs, Royce L. Lee, Individually and Connie
A. Lee, Individually, take nothing of and from the Defendants by reason of their suit brought by said
Plaintiffs against the Defendants. The adult Plaintiffs are hereby ordered to discharge any outstanding
fees and expenses with regard to this incident with the funds received jointly with their attorneys.

IT IS FURTHER ORDERED, ADJUDGED AND DECREED that since all sums ordered
to be paid herein have been so paid and that the Plaintiffs herein have been satisfied as to all damages
to which they were entitled as a result of the occurrence in question that the Defendants are hereby
fully discharged of all conceivable liability to the Plaintiffs and the Minor Plaintiff by reason of the
incident described in the pleadings herein, whether or not relief for all claims, causes of action and/or
damages were sought in the law suit.

IT IS FURTHER ORDERED that for the services rendered by Robert Barrera, the duly
appointed Guardian Ad Litem for CATHERINE A. LEE, he shall be awarded the sum of Two
Thousand Five Hundred and no/100 Dollars ($2,500.00), the same being taxed as the only court cost

against the Defendants in this matter.

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IT IS FURTHER ORDERED that all other taxable court costs shall be borne by the party that
incurred the same. All other relief sought by the parties in this matter, but not specifically provided

for in this Final Judgment is expressly DENIED.

Signed this Lith day of November , 2000

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HONORABLE HF. GARCIA
UNITED STATES DISTRICT JUDGE, PRESIDING

APPROVED AS TO FORM:

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GUARDIAN AD LITEM FOR MINOR PLAINTIFF,
CATHERINE A. LEE

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